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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                              Plaintiffs,
                       v.                        Case No. 22-cv-0098-JMB-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                              Defendants.


 DECLARATION OF TIMOTHY M. FREY IN SUPPORT OF SMARTMATIC’S
                   MOTION FOR CONTEMPT

I, Timothy M. Frey, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am over the age of 18, I am competent to make this declaration, and I have

personal knowledge of the facts stated herein. These facts are true to the best of my

knowledge, information, and belief, and if called upon to testify as a witness, I could and

would testify competently to them.

       2.     I am an attorney at the law firm Benesch, Friedlander, Coplan & Aronoff,

LLP, and I represent Plaintiffs Smartmatic USA Corp., Smartmatic International Holding

B.V., and SGO Corporation Limited (“Smartmatic”) in the above-captioned lawsuit.

       3.     Attached as Exhibit A is a true and correct copy of the transcript of the June

11, 2024 deposition of Michael J. Lindell in this litigation.
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       4.     Attached as Exhibit B is a true and correct copy of an email exchange

between Christopher Kachouroff and Julie Loftus dated July 29, 2024.

       5.     As of today, September 23, 2024, Smartmatic has not received Mike

Lindell’s personal tax returns for the years 2022 and 2023.

       6.     As of today, September 23, 2024, Smartmatic has not received the documents

underlying Mike Lindell’s personal tax returns for the years 2022 and 2023.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.




                                           Timothy M. Frey


Executed on September 23, 2024




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